                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 03-CR-194

DARYLVOCIA GREER
              Defendant.


                                          ORDER

       Defendant Darylvocia Greer moves for an interruption of his sentence from August

19, 2010, to August 23, 2010, in order to attend the funeral of his uncle and comfort his

family. I sentenced defendant to 300 months in prison on drug and firearm charges in

2005, reduced to 180 months in 2009. Defendant is currently incarcerated at Oxford

FCI/FPC, with a projected release date of October 14, 2016. Defendant indicates that he

applied to prison staff for a furlough, but his request was denied because uncles do not

qualify as immediate family members under Bureau of Prisons (“BOP”) guidelines.

       Defendant contends that the court has authority to grant the relief requested under

28 U.S.C. § 1651(a), the All Writs Act, which provides that “all courts established by Act of

Congress may issue all writs necessary or appropriate in aid of their respective jurisdictions

and agreeable to the usages and principles of law.” As defendant notes in his motion,

district courts within this circuit have previously granted requests for interruption of

sentence to attend funerals under § 1651(a). However, it does not appear that these courts

specifically considered whether the All Writs Act provides an independent grant of

jurisdiction to afford such relief, as opposed to assisting the court in enforcing its pre-

existing jurisdiction. See United States v. Reed, No. 01-CR-20062, 2008 WL 4822045, at

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*2 (C.D. Ill. Oct. 28, 2008). Generally, once sentence has been imposed, the court loses

jurisdiction to make changes. See 18 U.S.C. § 3582(c); United States v. Smith, 438 F.3d

796, 798-99 (7th Cir. 2006); Romandine v. United States, 206 F.3d 731, 735 (7th Cir.

2000). Under 18 U.S.C. § 3622(a), the BOP may release a prisoner for specified purposes,

including to visit dying relatives or attend funerals, but nothing in that statute appears to

confer similar power on the sentencing court. See Reed, 2008 WL 4822045, at *3 (citing

United States v. Premachandra, 78 F.3d 589 (8th Cir. 1996); Clay v. LaManna, 2008 WL

4680579 (D.S.C. Oct. 21, 2008)). Therefore, the motion will be dismissed.

       Assuming, arguendo, that I have jurisdiction over defendant’s motion, I deny it in the

alternative. Absence from family affairs is one of the ordinary incidents of incarceration,

and defendant has not demonstrated the propriety of an interruption of sentence under

these circumstances. While courts may sympathize with a prisoner’s desire to attend family

funerals and comfort grieving relatives, the inability to do so is one of the many

consequences of committing a crime.         Further, the BOP’s policy of permitting brief

furloughs for immediate family members appears to reflect an appropriate balance between

the need for compassion to inmates and their families in times of need, and the

administrative costs and burdens of responding to every such request, no matter how

distant the relative or how lengthy the furlough request. United States v. Van Ahn, No.

03-CR-296, 2006 WL 752904, at *1 (E.D. Wis. Mar. 22, 2006) (Griesbach, J.).

       Finally, to the extent that the court may have authority to review the BOP’s exercise

of its authority under 18 U.S.C. § 3622, PS 5538.04, and PS 5280.08, defendant fails to

demonstrate that the BOP improperly exercised its discretion or any other basis for judicial

intervention in his case.




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      THEREFORE, IT IS ORDERED that the motion for interruption of sentence (R. 797)

is DISMISSED. In the alternative it is DENIED.

      Dated at Milwaukee, Wisconsin, this 19th day of August, 2010.

                                       /s Lynn Adelman
                                       _______________________________________
                                       LYNN ADELMAN
                                       District Judge




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